 Case 9:20-md-02924-RLR Document 7096-2 Entered on FLSD Docket 11/01/2023 Page 1 of 2


Paula Acaldo

From:                Kapke, Kara <Kara.Kapke@btlaw.com>
Sent:                Wednesday, November 1, 2023 2:48 PM
To:                  Paula Acaldo; Maguire, Robyn
Subject:             Re: [EXTERNAL] RE: Creel - Entry of Final Judgment - CVS

Follow Up Flag:      Follow up
Flag Status:         Flagged



   You don't often get email from kara.kapke@btlaw.com. Learn why this is important

Paula ‐ I found your email and can confirm we have no objection.

Kara Kapke
Barnes and Thornburg
(317) 509‐9545



       On Oct 30, 2023, at 6:06 PM, Paula Acaldo <pacaldo@plgroupla.com> wrote:


       Caution: This email originated from outside the Firm.

       Good Afternoon:

       In reviewing the Courts Rule 58 Final Judgment Order (DE 6974) our clients, RICKY and BECKY CREEL
       (Case No. 9:21‐cv‐81428), were not included in any of the exhibits attached to the Order.
       We wish to file an unopposed Motion for Entry of Final Judgment. Please advise if you have any
       objections.

       Thank you,


       Paula Acaldo
       Paula Acaldo
       Paralegal to M ichael C . Palm intier
       Palm intier Law G roup
       618 M ain Street
       B aton R ouge, Louisiana 70801
       Telephone: 225-344-3735
       Facsim ile: 225-344-0522
       D irect:     225-408-5231
       N ote N ew Em ail: pacaldo@ plgroupla.com




                                                                1
                                                                                      Exhibit "B"
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